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EXHIBIT B

(Order Approving 9019 Motion)

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

NEW CENTURY TRS HOLDINGS, : Case No. 07-10416 (KJC)
INC., a Delaware corporation, et al.,' :

Jointly Administered
Debtors.

ORDER PURSUANT TO DEBTORS’ MOTION PURSUANT TO SECTION 363 OF THE
BANKRUPTCY CODE AND BANKRUPTCY RULE 9019(a) APPROVING A
SETTLEMENT BETWEEN THE DEBTORS, POSITIVE SOFTWARE SOLUTIONS,
INC. AND EDWARD MANDEL AND GRANTING RELATED RELIEF

This matter coming before the Court on the Debtors’ Motion to Pursuant to
Section 363 of the Bankruptcy Code and Bankruptcy Rule 9019(a) Approving a Settlement
Between the Debtors, Positive Software Solutions, Inc. and Edward Mandel and Granting
Related Relief (the “Motion”); the Court having reviewed the Motion; the Court finding that (a)
the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) this is a
core proceeding pursuant to 28 U.S.C. § 157(b)(2), and (c) notice of the Motion was adequate
under the circumstances; and the Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein,

' The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT,
Inc.), a Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial Corporation), a
Delaware corporation; New Century Mortgage Corporation (f/k/a JBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation, Homel23 Corporation (f/k/a The Anyloan Corporation, 1800anyloan.com,
Anyloan com), a California corporation, New Century Credit Corporation (fda Worth Funding Incorporated), a
California corporation; NC Asset Holding, LP (f/k/a NC Residual I Corporation), a Delaware limited partnership;
NC Residual II] Corporation, a Delaware corporation; NC Residual IV Corporation, a Delaware corporation; New
Century RE.O Corp., a Califormia corporation, New Century RE.O. II Corp., a California corporation; New
Century REO. I] Corp., a California corporation, New Century Mortgage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticeilo Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited Habiliry company; NC Deliex, LLC, a Delaware limited liability company; NCoral, L.P, a
Delaware limited partnership; New Century Warehouse Corporation, a California corporation

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NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED.

2. Capitalized terms not otherwise defined herein have the meanings given to
them in the Motion.

3. The Debtors shall be, and hereby are, authorized to enter into the
Settlement Agreement, and take all actions reasonably necessary to effectuate its terms and
conditions.

4, This Court’s August 15, 2007 order [Docket No. 2265] shall be vacated to
the extent that it holds that PSSI violated the automatic stay and may be sanctioned. The vacatur
will be automatic, without further order of this Court, upon this Order becoming final and non-
appealable.

5. Adversary Proc. 07-51724 (KJC) shall be dismissed, without further order
of this Court, upon this Order becoming final and non-appealable.

6. The following motions shall be deemed withdrawn, without further order
of this Court, upon this Order becoming final and non-appealable:

a. The Debtors’ Motion for Additional Sanctions Against Positive
Software Solutions, Inc. for Further Violation of the Automatic Stay [Docket No. 2566];

b. The Debtors’ Supplement io “Motion for Additional Sanctions
Against Positive Software Solutions, Inc. for Further Violation of the Automatic Stay” [Docket
No. 3252);

C. The Motion of Positive Software Solutions, Inc, and Edward

Mandel for an Order Granting Relief from the Automatic Stay [Docket No. 3320]; and

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d. The Second Motion of Positive Software Solutions, Inc. For Relief
from the Stay Regarding Copyright Infringement Litigation [Docket No. 4354].
7. This Order shall be effective and enforceable immediately upon entry.
8. This Court retains jurisdiction to interpret, implement, and enforce the

provisions of this Order.

Dated: , 2008
Wilmington, Delaware THE HONORABLE KEVIN J. CAREY
UNITED STATES BANKRUPTCY JUDGE

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